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     COUNTY OF SANTA CLARA
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9                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF CALIFORNIA
10                                           (San José Division)
11

12   CALVARY CHAPEL SAN JOSE, et al.,                             No. 20-CV-03794 BLF
13                    Plaintiffs,                                 JOINT STIPULATION TO EXTEND
                                                                  EXPERT DISCOVERY DEADLINES; AND
14   v.                                                           [PROPOSED] ORDER
15   COUNTY OF SANTA CLARA,                                        AS MODIFIED BELOW
16                    Defendant.
17

18                                               JOINT STIPULATION

19           Pursuant to Civil Local Rule 6-2, the parties hereby agree and stipulate to the following
20   extension of the expert discovery deadlines in the above-captioned matter in order to permit the
21   parties to continue to explore settlement with the assistance of Magistrate Judge Laurel Beeler and to
22   accommodate the schedules of counsel and the witnesses who the parties expect will be deposed.
23           WHEREAS the current deadline for the disclosure of rebuttal expert reports is December 2,
24   2022, and the overall deadline for expert discovery as stipulated to by the parties and ordered by the
25   Court on April 9, 2021 (ECF 83) is December 16, 2022;
26           WHEREAS the parties have engaged in reasonably diligent efforts and expert discovery is
27   underway with initial disclosures and reports exchanged on November 10, 2022;
28   ///
                                                              1
     Joint Stipulation to Extend Expert Discovery Deadlines                                 20-CV-03794 BLF
     and [Proposed] Order
           Case 5:20-cv-03794-BLF Document 245 Filed 11/28/22 Page 2 of 3



1            WHEREAS the parties are currently engaged in settlement discussions before Judge Beeler,
2    and their next settlement conference is scheduled for November 29, 2022;
3            WHEREAS the parties believe that extending the time for expert discovery would help
4    facilitate the parties’ settlement discussions;
5            WHEREAS the parties also believe that extending the time for expert discovery would help
6    the parties and their counsel to accommodate the schedules of the disclosed witnesses and counsel at
7    this time of year, when scheduling is difficult;
8            WHEREAS the parties agree to extend the deadline for the disclosure of rebuttal reports to
9    December 30, 2022, and the overall deadline for expert discovery to January 20, 2023;
10           WHEREAS there is good cause to extend the expert discovery deadlines to facilitate settlement
11   discussions and to accommodate the schedules of the deponents and counsel;

12           WHEREAS the parties have previously stipulated to and otherwise sought modifications to
13   briefing schedules, filing and response deadlines, discovery deadlines, and the ADR deadline. See,
14   e.g., ECF 52, 77, 100, 103, 107, 118, 142, 148, 168, 180, 216, 218, 228; and
15           WHEREAS the parties do not expect the agreed-upon extension to affect the overall schedule
16   for the case apart from the expert discovery deadlines.
17           Accordingly, for good cause shown, the parties stipulate and respectfully request the Court
18   enter an order extending the expert discovery deadlines as set forth above and in the proposed order
19   submitted herewith.
20           IT IS SO STIPULATED.
21   Dated: November 28, 2022                                       JAMES R. WILLIAMS
                                                                    County Counsel
22

23                                                        By:       /s/ Robin M. Wall
                                                                    ROBIN M. WALL
24                                                                  Deputy County Counsel
25                                                                  Attorneys for Defendant
                                                                    COUNTY OF SANTA CLARA
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     Joint Stipulation to Extend Expert Discovery Deadlines                                   20-CV-03794 BLF
     and [Proposed] Order
               Case 5:20-cv-03794-BLF Document 245 Filed 11/28/22 Page 3 of 3



1    Dated: November 28, 2022                                       TYLER & BURSCH, LLP
2

3                                                         By:       /s/ Mariah Gondeiro
                                                                    MARIAH GONDEIRO
4
                                                                    Attorneys for Plaintiffs
5                                                                   CALVARY CHAPEL SAN JOSE and
                                                                    MIKE MCCLURE
6

7
                                                    CERTIFICATION
8
                Pursuant to Civil Local Rule 5-1(i)(3), I attest that the concurrence of Mariah Gondeiro in the
9
     filing of this stipulation has been obtained.
10

11
     Dated: November 28, 2022                             By:       /s/ Robin M. Wall
12                                                                  ROBIN M. WALL
                                                                    Deputy County Counsel
13

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16
                                                 [PROPOSED] ORDER
17
                The Court, having reviewed the parties’ Joint Stipulation, and good cause appearing therefor,
18
     IT IS HEREBY ORDERED that the deadline for the disclosure of rebuttal reports is extended to
19                 2022
     December 30, 2002, and the deadline to complete expert discovery is extended to January 20, 2023.
20
                PURSUANT TO STIPULATION, IT IS SO ORDERED.
21

22
     Dated: November 28                , 2022
23                                                                  The Honorable Beth Labson Freeman
                                                                    United States District Judge
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     Joint Stipulation to Extend Expert Discovery Deadlines                                     20-CV-03794 BLF
     and [Proposed] Order
